                Case 2:21-cv-01050-TSZ Document 18 Filed 03/18/22 Page 1 of 4




 1
                                                                              The Honorable Thomas S. Zilly
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 7
                               UNITED STATES DISCTRICT COURT
 8                       WESTERN DISCTRICT OF WASHINGTON AT SEATTLE

 9     UNIPLEX CONSTRUCTION, LLC, a
       Washington Limited Liability Company,                   NO. 2:21-cv-01050-TSZ
10
                                      Plaintiff,               STIPULATION AND
11                                                             [PROPOSED] ORDER OF
                         v.                                    DISMISSAL
12
       KINSALE INSURANCE COMPANY; a
13     foreign corporation,
                            Defendant.
14

15                                           I.      STIPULATION

16          COME NOW Uniplex Construction, LLC and Kinsale Insurance Company, by and through

17   their attorneys of record, hereby agree and stipulate that all claims asserted in the above-entitled matter

18   are dismissed with prejudice and without costs or attorneys’ fees.

19      DATED this 18th day of March, 2022.

20                                                  LETHER LAW GROUP

21                                                  /s/ Thomas Lether
                                                    Thomas Lether, WSBA #18089
22                                                  1808 Westlake Avenue N., Suite 100
                                                    Seattle, WA 98109
23                                                  206.467.5444
                                                    tlether@letherlaw.com
                                                    Attorneys for Kinsale Insurance Company
                                                                                  LETHER LAW GROUP
     STIPULATION AND [PROPOSED] ORDER                                     1848 WESTLAKE AVENUE N, SUITE 100
     OF DISMISSAL – 1                                                              SEATTLE, WA 98109
                                                                           P: (206) 467-5444 F: (206) 467-5544
             Case 2:21-cv-01050-TSZ Document 18 Filed 03/18/22 Page 2 of 4




 1                                      ASHBAUGH BEAL LLP

 2                                      /s/ James Grossman
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 3                                      WSBA #9203
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 4                                      James Grossman
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                                        701 5th Avenue, Suite 4400
 6                                      Seattle, WA 98104
                                        (206) 386-5900
 7                                      Attorneys for Uniplex Construction, LLC

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                                                                   LETHER LAW GROUP
     STIPULATION AND [PROPOSED] ORDER                      1848 WESTLAKE AVENUE N, SUITE 100
     OF DISMISSAL – 2                                               SEATTLE, WA 98109
                                                            P: (206) 467-5444 F: (206) 467-5544
                 Case 2:21-cv-01050-TSZ Document 18 Filed 03/18/22 Page 3 of 4




 1                                       I.    ORDER OF DISMISSAL

 2          Based on the foregoing Stipulation, it is hereby ORDERED:

 3          1.       That this action is hereby dismissed with prejudice;

 4          2.       This dismissal is effectuated without an award of fees or costs to any party.

 5          DONE IN OPEN COURT this ___ day of                              , 2022.

 6

 7                                                 ___________________________________
                                                   The Honorable Thomas S. Zilly
 8                                                 United States District Judge

 9   Presented By:

10

11   LETHER LAW GROUP

12   /s/ Thomas Lether
     Thomas Lether, WSBA #18089
13   1808 Westlake Avenue N., Suite 100
     Seattle, WA 98109
14   206.467.5444
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     (206) 386-5900
23   Attorneys for Uniplex Construction, LLC


                                                                                LETHER LAW GROUP
     STIPULATION AND [PROPOSED] ORDER                                   1848 WESTLAKE AVENUE N, SUITE 100
     OF DISMISSAL – 3                                                            SEATTLE, WA 98109
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               Case 2:21-cv-01050-TSZ Document 18 Filed 03/18/22 Page 4 of 4




 1
                                      CERTIFICATE OF SERVICE
 2
            The undersigned hereby certify under the penalty of perjury under the laws of the State of
 3
     Washington that on this date I caused to be served in the manner noted below a true and correct copy
 4
     of the foregoing on the parties mentioned below as indicated:
 5
            Richard T. Beal, Jr.
 6          James Grossman
            Ashbaugh Beal
 7          4400 Columbia Center
            701 Fifth Avenue
 8          Seattle, WA 98104
            T: 206-386-5900
 9          rbeal@ashbaughbeal.com
            jgrossman@ashbaughbeal.com
10          Counsel for Uniplex Construction LLC

11
     By:        [] First Class Mail           [X] E-mail/ECF           [ ] Legal Messenger
12
            DATED this 18th day of March 2022 at Seattle, Washington.
13

14
                                                         /s/ Nico Schulz
                                                         Nico Schulz | Legal Assistant
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                                                                              LETHER LAW GROUP
     STIPULATION AND [PROPOSED] ORDER                                 1848 WESTLAKE AVENUE N, SUITE 100
     OF DISMISSAL – 4                                                          SEATTLE, WA 98109
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